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16   Plaintiffs’ Interim Class Counsel
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18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19
                                    SAN JOSE DIVISION
20

21 IN RE PAYPAL HONEY BROWSER                     Case No.: 5:24-cv-9470-BLF
   EXTENSION LITIGATION
22
                                                  NOTICE OF VOLUNTARY DISMISSAL
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                               NOTICE OF VOLUNTARY DISMISSAL
                                    Case No.: 5:24-cv-9470-BLF
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 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Xavier Smith, by and

 2 through undersigned counsel, hereby gives notice of his voluntary dismissal of this case without

 3 prejudice. This dismissal does not affect the claims of any other Plaintiff in this litigation.

 4

 5 Dated: June 16, 2025                                    Respectfully submitted,

 6                                                         By: /s/ Dena C. Sharp

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 1                                     FILER’S ATTESTATION

 2          I, Dena C. Sharp, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that all counsel listed above

 4 have concurred in this filing.

 5 Dated: June 16, 2025                                   /s/ Dena C. Sharp
                                                          Dena C. Sharp
 6

 7

 8

 9                                   CERTIFICATE OF SERVICE
10          I hereby certify that a true and correct copy of the foregoing was duly served upon all
11 Counsel of record in this action via electronic service in accordance with the Federal Rules of Civil

12 Procedure on June 16, 2025.

13                                                        /s/ Dena C. Sharp
                                                          Dena C. Sharp
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                                NOTICE OF VOLUNTARY DISMISSAL
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